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                 UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

DWIGHT RUSSELL, et al.,
  Plaintiffs,

v.                                         Civil Action No. 4:19-cv-226

                                            Honorable Lee H. Rosenthal
                                            United States District Judge
HARRIS COUNTY, TEXAS, et
al.,
    Defendants.


 Amended Motion for Leave to File Amicus Curiae Brief by Senator Paul
  Bettencourt, Representative Sam Harless, Representative Dan Huberty,
 Representative Briscoe Cain, Representative Dennis Paul, Representative
 Tom Oliverson, M.D., Representative Jim Murphy, Representative Lacey
                Hull, and Representative Valoree Swanson

      Senator Paul Bettencourt (Senate District 7), Representative Sam

Harless (District 126), Representative Dan Huberty (District 127),

Representative Briscoe Cain (District 128), Representative Dennis Paul

(District 129), Representative Tom Oliverson, M.D. (District 130),

Representative Jim Murphy (District 133), Representative Lacey Hull

(District 138), and Representative Valoree Swanson (District 150) (the

“Elected Officials”) respectfully move for leave to file an amicus curiae brief
    Case 4:19-cv-00226 Document 376 Filed on 01/22/21 in TXSD Page 2 of 9




in opposition to the Report of Sheriff Ed Gonzalez January 12, 2021 and

Request for Emergency Hearing.1

        Senator Paul Bettencourt represents District 7 in the Texas State Senate.

District 7 includes approximately 954,933 Texas residents of Harris County,

Texas.2 These residents live in the cities of Houston, Bunker Hill Village,

Hedwig Village, Hunters Creek Village, Jersey Village, Piney Point Village,

Tomball, and unincorporated areas of Harris County. 3 The population of

Senate District 7 is twenty percent of the Harris County population.4

        Representative Sam Harless represents District 126 in the Texas House

of Representatives – approximately 190,040 individuals.5 Representative Dan

Huberty represents District 127 in the Texas House of Representatives –




1
 Amicus Curiae Brief by Senator Paul Bettencourt, State Representatives Sam Harless,
Dan Huberty, Briscoe Cain, Dennis Paul, Tom Oliverson, James Murphy, Dwayne Bohac,
Valoree Swanson, Russell v. Harris County, No. 4:19-cv-226 (S.D. Tex.), ECF No. 78.
2
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/senate/dist7/profile.pdf).
3
  See Cities and Census Designated Places (CDPs) by District, Texas Legislative Council
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/senate/dist7/r6.pdf).
4
  See District Population Analysis with County Subtotals
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/senate/dist7/r4.pdf).
5
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist126/profile.pdf).



                                           2
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approximately 194,473 individuals.6 Representative Briscoe Cain represents

District 128 in the Texas House of Representatives – approximately 188,188

individuals.7 Representative Dennis Paul represents District 129 in the Texas

House of Representatives – approximately 186,922 individuals.                    8



Representative Tom Oliverson, M.D. represents District 130 – approximately

218,557 individuals.9 Representative Jim Murphy represents District 133 –

approximately 192,356 individuals. 10 Representative Lacey Hull represents




6
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist127/profile.pdf).
7
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist128/profile.pdf).
8
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist129/profile.pdf).
9
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist130/profile.pdf).
10
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist133/profile.pdf).



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District 138 – approximately 186,793 individuals.11 Representative Valoree

Swanson represents District 150 – approximately 212,803 individuals.12

       The Elected Officials believe that this brief may be of assistance to the

Court because it outlines the constituent concerns of the representatives of

approximately 1,570,132 individuals – one-third of the total population of
                           13
Harris County, Texas.           Accordingly, the Elected Officials respectfully

request that the Court grant their amended motion for leave to file the

accompanying brief and consider their arguments during its deliberations.

                                           Respectfully submitted,

                                           /s/ Gary M. Polland
                                           Gary M. Polland
                                           Texas Bar Number 16095800
                                           Federal ID Number 4715
                                           Polland & Associates PC

11
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist138/profile.pdf).
12
  See Analysis by Texas Legislative Council, Research Division, 2014-2018 American
Community Survey (ACS) 5-Year Summary File
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist150/profile.pdf).
13
  See District Population Analysis with County Subtotals
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist126/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist127/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist128/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist129/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist130/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist133/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist138/r4.pdf);
(https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist150/r4.pdf).



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                                      1533 West Alabama Street
                                      Houston, Texas 77006
                                      Telephone: 713.621.6335
                                      Facsimile: 713.622.6334
                                      pollandlaw@yahoo.com
                                      Attorney for Senator Paul Bettencourt


                            Certificate of Service

      I hereby certify that a true and correct copy of the foregoing Amended
Motion for Leave to File Amicus Curiae Brief by Senator Paul Bettencourt,
Representative Sam Harless, Representative Dan Huberty, Representative
Briscoe Cain, Representative Dennis Paul, Representative Tom Oliverson,
M.D., Representative Jim Murphy, Representative Lacey Hull, and
Representative Valoree Swanson has been sent to all interested parties via the
CM/ECF filing system on January 21, 2021.

                                      /s/ Gary M. Polland
                                      Gary M. Polland




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                 UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
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v.                                         Civil Action No. 4:19-cv-226

                                           Honorable Lee H. Rosenthal
                                         United States District Court Judge
HARRIS COUNTY, TEXAS, et
al.,
    Defendants.


  Amicus Curiae Brief by Senator Paul Bettencourt, Representative Sam
   Harless, Representative Dan Huberty, Representative Briscoe Cain,
    Representative Dennis Paul, Representative Tom Oliverson, M.D.,
Representative Jim Murphy, Representative Lacey Hull, and Representative
                           Valoree Swanson

      As the elected representatives of at least one-third of all Harris County

residents, including law abiding citizens and crime survivors, Senator Paul

Bettencourt (Senate District 7), Representative Sam Harless (District 126),

Representative Dan Huberty (District 127), Representative Briscoe Cain

(District 128), Representative Dennis Paul (District 129), Representative Tom

Oliverson, M.D. (District 130), Representative Jim Murphy (District 133),

Representative Lacey Hull (District 138), and Representative Valoree

Swanson (District 150) (the “Elected Officials”) file this renewed objection to
    Case 4:19-cv-00226 Document 376 Filed on 01/22/21 in TXSD Page 7 of 9




the release of accused persons based on insufficient bonds that do not protect

the people of Harris County.

          Public safety concerns in Harris County are at dire levels. Houston has

seen a sharp rise in homicides in 2020 – 380 murders through December 4, up

from 256 over the same period in 2019.1 Houston Police Chief Art Acevedo

is providing the homicide division of the Houston Police Department with

more investigators and additional overtime funds.2 In December, Governor

Abbott directed the Texas Department of Public Safety to provide support to

the Houston Police Department in their efforts to address an “alarming rise in

road rage-related shootings in the city of Houston.”3 At least 90 people killed

in Harris County from 2018 to present were killed by Harris County

defendants on various bonds.4 Dog walking is not even safe in Houston.5


1
 Scott Calvert and Zusha Elinson, Police are Solving Fewer Murders During Covid-19
Pandemic,      THE      WALL        STREET       JOURNAL     (Dec.      26,    2020),
https://www.wsj.com/articles/police-are-solving-fewer-murders-during-covid-19-
pandemic-11608994800.
2
    Id.
3
 Press Release, Governor Greg Abbott, Governor Abbott Deploys DPS Resources To
Houston To Combat Violent Crime, Rise In Road Rage Shootings (Dec. 9, 2020),
https://gov.texas.gov/news/post/governor-abbott-deploys-dps-resources-to-houston-to-
combat-violent-crime-rise-in-road-rage-shootings.
4
   Andy Kahan (@akahancrimesto1), TWITTER (Jan. 19, 2021,                  6:34   PM),
https://twitter.com/akahancrimesto1/status/1351689422308323333.
5
 T.J. Parker, Spring Branch-area tenants on edge after armed robbery led to dog being
shot and killed, ABC 13 EYEWITNESS NEWS (Jan. 20, 2021), https://abc13.com/dog-fatally-
                                          2
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        The current revolving door at the Harris County courthouse is alarming.

There is a backlog of cases in the criminal courts and there are no provisions

to move the cases forward.6 (“The overall backlog of criminal cases in Harris

County district courts sits at 47,224 pending cases as of November, including

4,602 family violence felonies, 800 murders, 3,931 serious assaults, more than

1,500 sex crimes against children and tens of thousands of other cases all

waiting for a resolution.”).

        The Sheriff’s statements are alarming because he is entrusted with

protecting all Harris County citizens by enforcing the law. There are no

statutory limits on the potential jailed persons. And, certainly, there are other

options aside from wholesale release, including the procurement of additional

jail space and cooperation with the Harris County legislators during this

legislative session. The Texas Legislature’s 87th regular session began on

January 12, 2021 and will end on May 31, 2021.

        The Elected Officials continue to stand against the dangerous release of

accused felony offenders from the Harris County Jail without any


shot-armed-robbery-killed-villas-at-bunker-hill-spring-branch-robbed-gunpoint-while-
walking/9847022/#:~:text=HOUSTON%2C%20Texas%20(KTRK)%20%2D%2D,it%20
was%20shot%20to%20death.&text=The%20dog%20was%20shot%20twice%20before%
20the%20suspects%20ran%20off.
6
  Ted Oberg and Sarah Rafique, Victims wait as courts face unprecedented COVID-19
delays, ABC 13 EYEWITNESS NEWS (Dec. 18, 2021), https://abc13.com/harris-county-
crime-backlog-court-houston-victims/8777694/
                                         3
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consideration of law enforcement officers and crime survivors, as this will

assuredly continue a crime wave in Harris County. This Court should deny

the Sheriff’s request to release accused felony offenders from the Harris

County Jail.


                                        Respectfully submitted,

                                        /s/ Gary M. Polland
                                        Gary M. Polland
                                        Texas Bar Number 16095800
                                        Federal ID Number 4715
                                        Polland & Associates PC
                                        1533 West Alabama Street
                                        Houston, Texas 77006
                                        Telephone: 713.621.6335
                                        Facsimile: 713.622.6334
                                        pollandlaw@yahoo.com
                                        Attorney for Senator Paul Bettencourt

                            Certificate of Service

      I hereby certify that a true and correct copy of the foregoing Amicus

Curiae Brief by Senator Paul Bettencourt has been sent to all interested parties

via the CM/ECF filing system on January 21, 2021.

                                        /s/ Gary M. Polland
                                        Gary M. Polland




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